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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                 Newport News Division

JAMES T. PARKER and DEBRA L. PARKER,

        Plaintiffs,

v.                                                  Case No.: 4:18cv140

FREEDOM MORTGAGE CORPORATION,
et al.,

        Defendants.

                DEFENDANT EQUIFAX INFORMATION SERVICES LLC’S
                ANSWER AND DEFENSES TO PLAINTIFFS’ COMPLAINT

        Defendant, Equifax Information Services LLC (“Equifax”), by Counsel, files its Answer

and Defenses to Plaintiffs’ Complaint (“Complaint”) as follows:

                                PRELIMINARY STATEMENT

        In answering the Complaint, Equifax states that it is responding to allegations on behalf

of itself only, even where the allegations pertain to alleged conduct by all Defendants. Equifax

denies any and all allegations in the headings and/or unnumbered paragraphs in the Complaint.

                                           ANSWER

        In response to the specific allegations in the enumerated paragraphs in the Complaint,

Equifax responds as follows:

        1.      Equifax admits Plaintiffs purport to bring claims against it pursuant to the Fair

Credit Reporting Act (“FCRA”), but denies it violated the FCRA in its handling of Plaintiffs’

credit files.

        2.      To the extent Plaintiffs have properly alleged their claims, Equifax admits the

Court may exercise its jurisdiction.




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       3.       Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 3.

       4.       Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 4.

       5.       Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 5.

       6.       Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 6.

       7.       Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 7.

       8.       Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 8.

       9.       Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 9.

       10.      Equifax denies it is a corporation. Equifax admits the remaining allegations in

Paragraph 10.

       11.      Equifax admits the allegations in Paragraph 11.

       12.      Equifax admits the allegations in Paragraph 12.

       13.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 13.

       14.      Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 14.

       15.      Equifax is without knowledge or information sufficient to form a belief as to the




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truth of the allegations in Paragraph 15.

       16.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 16.

       17.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 17.

       18.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 18.

       19.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 19.

       20.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 20.

       21.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 21.

       22.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 22.

       23.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 23.

       24.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 24.

       25.     Equifax admits it received disputes from Plaintiffs. Equifax states that the

disputes speak for themselves, and to the extent Plaintiffs misquote, misstate, mischaracterize, or

take out of context the disputes with Equifax, the allegations are denied.

       26.     Equifax admits it received disputes from Plaintiffs. Equifax states that the




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disputes speak for themselves, and to the extent Plaintiffs misquote, misstate, mischaracterize, or

take out of context the disputes with Equifax, the allegations are denied.

       27.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 27.

       28.     Equifax denies the allegations in Paragraph 28.

       29.     Equifax admits it received disputes from Plaintiffs. Equifax states that the

disputes speak for themselves, and to the extent Plaintiffs misquote, misstate, mischaracterize, or

take out of context the disputes with Equifax, the allegations are denied.

       30.     Equifax denies the allegations in Paragraph 30.

       31.     Equifax denies the allegations in Paragraph 31.

       32.     Equifax restates its answers and defenses to Paragraphs 1-31.

       33.     Equifax denies the allegations in Paragraph 33.

       34.     Equifax denies the allegations in Paragraph 34.

       35.     Equifax denies the allegations in Paragraph 35.

       36.     Equifax denies the allegations in Paragraph 36.

       37.     Equifax restates its answers and defenses to Paragraphs 1-36.

       38.     Equifax denies the allegations in Paragraph 38.

       39.     Equifax denies the allegations in Paragraph 39.

       40.     Equifax denies the allegations in Paragraph 40.

       41.     Equifax denies the allegations in Paragraph 41.

       42.     Equifax denies the allegations in Paragraph 42.

       43.     Equifax denies the allegations in Paragraph 43.

       44.     Equifax denies the allegations in Paragraph 44.




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       45.     Equifax restates its answers and defenses to Paragraphs 1-44.

       46.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 46.

       47.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 47.

       48.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 48.

       49.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 49.

       50.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 50.

       51.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 51.

       52.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 52.

       53.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 53.

       54.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 54.

       55.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 55.

       56.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 56.




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       57.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 57.

       58.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 58.

       59.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 59.

       60.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 60.

       61.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 61.

       62.     Equifax restates its answers and defenses to Paragraphs 1-61.

       63.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 63.

       64.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 64.

       65.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 65.

       66.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 66.

       67.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 67.

       68.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 68.




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       69.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 69.

       70.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 70.

       71.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 71.

       72.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 72.

       73.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 73.

       74.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 74.

       75.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 75.

       76.     Equifax restates its answers and defenses to Paragraphs 1-75.

       77.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 77.

       78.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 78.

       79.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 79.

       80.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 80.




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        81.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 81.

        82.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 82.

        83.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 83.

        84.     Equifax is without knowledge or information sufficient to form a belief as to the

truth of the allegations in Paragraph 84.

        85.     Equifax denies Plaintiffs are entitled to any relief claimed in their Complaint.

        86.     Equifax admits Plaintiffs have demanded a trial by jury.

        87.     Any allegation in Plaintiffs’ Complaint not heretofore specifically responded to

by Equifax is hereby denied.

                                             DEFENSES

        Without assuming the burden of proof where it otherwise rests with Plaintiffs, Equifax

pleads the following defenses to the Complaint:

                                           FIRST DEFENSE

        At all pertinent times, Equifax maintained reasonable procedures to assure maximum

possible accuracy in its credit reports.

                                       SECOND DEFENSE

        Equifax has complied with the Fair Credit Reporting Act in its handling of Plaintiffs’

credit files and is entitled to each and every defense stated in the Act and any and all limitations

of liability.

        WHEREFORE, having fully answered or otherwise responded to the allegations in




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Plaintiffs’ Complaint, Equifax prays that:

       (1)     Plaintiffs’ Complaint be dismissed in its entirety and with prejudice, with all costs

taxed against Plaintiffs;

       (2)     it be dismissed as a party to this action;

       (3)     it recover such other and additional relief as the Court deems just and appropriate.

       Respectfully submitted this 4th day of December 2018.


                                       /s/ John W. Montgomery, Jr.
                                       John W. Montgomery, Jr.
                                       VSB No. 37149
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                                     CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of December 2018, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will then send a notification of such

filing (NEF) to the following:

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                                     /s/ John W. Montgomery, Jr.
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